  Case 20-41957       Doc 32     Filed 12/18/20 Entered 12/18/20 09:02:33             Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 In re:                                          §                 Case No. 20-41957
 Jason Christopher Warren                        §                    Chapter 13
 xxx-xx-4381                                     §
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                ORDER GRANTING RELIEF FROM AUTOMATIC STAY

        On November 30, 2020, a Motion for Relief from the Stay Against a 2019 Dodge
Challenger, Vehicle Identification Number 2C3CDZAG7KH603807 with Waiver of 30-Day
Hearing Requirement (the “Motion”) was filed by Santander Consumer USA Inc. dba Chrysler
Capital (“Movant”) in the above-referenced case. The Court finds that the Motion was properly
served pursuant to the Federal and Local Rules of Bankruptcy Procedure and that it contained the
appropriate fourteen (14) day negative notice language, pursuant to LBR 4001, which directed any
party opposed to the granting of the relief sought by the Motion to file a written response within
fourteen days or the Motion would be deemed by the Court to be unopposed. The Court finds that
no objection or other written response to the Motion has been timely filed by any party. Due to
the failure of any party to file a timely written response, the allegations contained in the Motion
stand unopposed and, therefore, the Court finds that good cause exists for the entry of the following
order.

      IT IS THEREFORE ORDERED that the Motion for Relief from the Stay Against a 2019
Dodge Challenger, Vehicle Identification Number 2C3CDZAG7KH603807 with Waiver of 30-
Day Hearing Requirement filed by Santander Consumer USA Inc. dba Chrysler Capital on
November 30, 2020 is hereby GRANTED so as to authorize the termination of the automatic stay
immediately as to the 2019 Dodge Challenger, Vehicle Identification Number
2C3CDZAG7KH603807.

        IT IS FURTHER ORDERED that, in the event Debtor’s bankruptcy is dismissed and
reinstated, or in the event Debtor’s bankruptcy converts to a different bankruptcy Chapter, this
Order shall be considered a part of any such bankruptcy.

       IT IS FURTHER ORDERED that, since the Motion was unopposed by any party, the
fourteen (14) day stay period otherwise imposed by Fed. R. Bankr. P. 4001(3) shall not be
applicable to this Order.

                                                       Signed on 12/18/2020

                                                                                          MD
                                             HONORABLE BRENDA T. RHOADES,
                                             UNITED STATES BANKRUPTCY JUDGE
